
534 So.2d 430 (1988)
Steven Christopher GRIFFIN and Lynn Griffin
v.
TENNECO OIL COMPANY et al.
No. 88-C-2663.
Supreme Court of Louisiana.
December 9, 1988.
Denied.
LEMMON, J., concurs. The judgment of the trial court was an unauthorized partial final judgment which promoted piece meal appeals. The more appropriate procedure was for the trial court to exclude evidence at trial pertaining to exemplary damages, allowing plaintiffs to proffer such evidence.
WATSON, J., concurs for reasons assigned by LEMMON, J.
MARCUS and DENNIS, JJ., would grant the writ.
